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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION


MELISSA HUNT,

   Plaintiff,


-vs-

SYNCHRONY BANK.,                                     CASE NO.: 6:17-CV-631-ORL31TBS
and GEMPACT, LLC.,

   Defendant.

                                      /

                           NOTICE OF PENDING SETTLEMENT

       Plaintiff, MELISSA HUNT, by and through her undersigned counsel, hereby notifies the

Court that the parties, Plaintiff, MELISSA HUNT, and Defendants, SYNCHRONY BANK.,

and GENPACT, LLC., have reached a settlement with regard to this case, and are presently

drafting, and finalizing the settlement agreement, and general release documents.            Upon

execution of the same, the parties will file the appropriate dismissal documents with the Court.

                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing document has been

furnished via E-Filing on this 7th day of August, 2017 to all parties of record.


                                              /s/ Shaughn C. Hill, Esquire
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